     1:14-cv-03693-JMC       Date Filed 09/18/14      Entry Number 1     Page 1 of 10




                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                                  AIKEN DIVISION

Lawrence Johnson and Dorothy             )               COMPLAINT
Johnson,                                 )
                                         )
      Plaintiffs,                        )            CA 1:14-3693-JMC
v.                                       )
                                         )
                                         )       JURY TRIAL DEMANDED
Capital One Bank USA, N.A.,              )
                                         )
      Defendant.                         )

                                     COMPLAINT

1.    This is an action brought by Plaintiffs, Lawrence and Dorothy Johnson, for actual and

      statutory damages for Defendant’s violations of the Telephone Consumer Protection

      Act, 47 U.S.C. §227, et seq (hereinafter “TCPA”). Plaintiffs also seek compensatory

      and punitive damages for the Defendant’s violations of South Carolina common law

      set forth herein.

                            JURISDICTION AND VENUE

2.    This Court has Jurisdiction under 28 U.S.C. §1332 and §1367. Venue is proper in

      that the Defendant transacted business here, and the Plaintiffs reside here. The

      amount in controversy exceeds the jurisdictional requirements of this Court.

                                       PARTIES

3.    Plaintiff, Lawrence Johnson, is a resident and citizen of the State of South Carolina,

      Aiken County, and is over the age of twenty-one (21) years.

                                       Page 1 of 10
     1:14-cv-03693-JMC       Date Filed 09/18/14       Entry Number 1     Page 2 of 10




4.    Plaintiff, Dorothy Johnson, is a resident and citizen of the State of South Carolina,

      Aiken County, and is over the age of twenty-one (21) years.

5.    Defendant Capital One Bank USA, N.A. (hereinafter “Capital One”), whose correct

      corporate status is unknown to the Plaintiff at this time, was in all respects and at all

      times relevant herein, doing business in the State of South Carolina. Defendant

      Capital One may be served with process through its registered agent for service of

      process, Corporation Service Company, 11 South 12th Street, Richmond, Virginia

      23219.

                              FACTUAL ALLEGATIONS

6.    Starting in or around August, 2013, Defendant began making telephone calls to

      Plaintiffs’ home and cellular telephones in an attempt to collect on an alleged account.

      Defendant made multiple telephone calls per day to Plaintiffs in an attempt to collect

      an the alleged account and said telephone calls were made with the intent to harass,

      coerce or annoy Plaintiffs into paying the alleged debt.

7.    Plaintiffs did not, and have not, consented to Defendant calling them on their cellular

      telephones.

8.    Upon information and belief, Defendant made telephone calls from at least four (4)

      different telephone numbers to contact Plaintiffs in its attempts to harass Plaintiffs

      into paying on the alleged account.

9.    From August of 2013 until February of 2014, Defendant carried out a systematic


                                        Page 2 of 10
      1:14-cv-03693-JMC       Date Filed 09/18/14       Entry Number 1     Page 3 of 10




       campaign of harassment against Plaintiffs by calling Plaintiffs more than two hundred

       seventy-five (275) times.

10.    Upon information and belief, every call made by Defendant to Plaintiffs was in an

       attempt to collect an alleged debt and was made with the intent and purpose to harass,

       annoy and/or coerce the Plaintiffs into paying an alleged debt.

11.    In September, 2013, Defendant made at least twenty four (24) telephone calls to

       Plaintiffs in an attempt to collect an alleged debt.

12.    In October, 2013, Defendant made at least fifty two (52) telephone calls to Plaintiffs

       in an attempt to collect an alleged debt.

13.    In November, 2013, Defendant made at least fifty five (55) telephone calls to

       Plaintiffs in an attempt to collect an alleged debt.

14.    In December, 2013, Defendant made at least forty seven (47) telephone calls to

       Plaintiffs in an attempt to collect an alleged debt.

15.    In January, 2014, Defendant made at least fifty five (55) telephone calls to Plaintiffs

       in an attempt to collect an alleged debt.

16.    In February, 2014, Defendant made at least forty one (41) telephone calls to Plaintiffs

       in an attempt to collect an alleged debt.

17.    The relentless telephone calls made by Defendant to Plaintiffs in an attempt to collect

       the alleged debt were all made with the intent to harass, annoy or coerce Plaintiffs into

       paying an alleged debt.


                                         Page 3 of 10
      1:14-cv-03693-JMC        Date Filed 09/18/14      Entry Number 1     Page 4 of 10




18.    Upon information and belief, a number of calls placed to the Plaintiffs’ cellular

       telephones by Defendant were made through the use of an automatic telephone dialing

       system as defined by 47 U.S.C. § 227.

19.    Defendant repeatedly called Plaintiffs on numbers that were assigned to a cellular

       telephone service. Additionally, Plaintiffs incur a charge for incoming calls pursuant

       to 47 U.S.C. §227(b)(1).

20.    Plaintiffs did not expressly, or impliedly, consent to Defendant’s placement of

       telephone calls to their cellular telephones by the use of an automatic telephone

       dialing system pursuant to 47 U.S.C. §227(b)(1)(A).

21.    Plaintiffs revoked any consent allegedly given for Defendant to call Plaintiffs’ cellular

       telephones by telling the callers to stop calling their cellular telephone numbers.

22.    Defendant knew, or should have known, that they were calling and continuing to call

       Plaintiffs’ cellular telephone numbers without Plaintiffs’ consent.

23.    None of Defendant’s telephone calls placed to Plaintiffs were for emergency purposes

       as defined by 47 U.S.C. §227 (b)(1)(A)(I).

24.    The telephone calls made by Defendant were in violation of 47 U.S.C. §227(b)(1).

                                      COUNT ONE
                 (Violation of the Telephone Consumer Protection Act)

25.    Plaintiffs hereby adopt all of the allegations set forth in paragraphs 6 through 24 as

       if set forth fully herein.

26.    The foregoing acts and omissions of Defendant constitute numerous and multiple

                                         Page 4 of 10
      1:14-cv-03693-JMC        Date Filed 09/18/14     Entry Number 1     Page 5 of 10




       negligent violations of the TCPA, including but not limited to each and every one of

       the above-cited provisions of 47 U.S.C. § 227 et seq.

27.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq., Plaintiffs

       are entitled to an award of $500.00 in statutory damages, for each and every violation,

       pursuant to 47 U.S.C.§ 227(b)(3)(B).

                                     COUNT TWO
                 (Violation of the Telephone Consumer Protection Act)

28.    Plaintiffs hereby adopt all of the allegations set forth in paragraphs 6 through 27 as

       if set forth fully herein.

29.    The foregoing acts and omissions of Defendant constitute numerous and multiple

       knowing and/or willful violations of the TCPA, including but not limited to each and

       every one of the above-cited provisions of 47 U.S.C. § 227 et seq.

30.    As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §227 et

       seq., the Plaintiffs are entitled to treble damages, as provided by statute, up to

       $1,500.00, for each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47

       U.S.C. § 227(b)(3)©.

                                     COUNT THREE
                           (Negligent Training and Supervision)

31.    Plaintiffs hereby adopt all of the allegations set forth in paragraphs 6 through 30 as

       if set forth fully herein.

32.    Defendant knew or should have known of their inadequate training and supervision.


                                        Page 5 of 10
      1:14-cv-03693-JMC        Date Filed 09/18/14      Entry Number 1     Page 6 of 10




       If Defendant had properly trained and supervised their employees, agents, and assigns,

       the conduct set forth herein which was directed at and visited upon the Plaintiffs

       would not have occurred.

33.    Defendant knew or should have known that the conduct of their employees, agents,

       and/or assigns was improper and was in violation of the TCPA, and South Carolina

       law.

34.    Defendant negligently failed to train and supervise their employees, agents, and/or

       assigns in order to prevent said improper conduct.

35.    As a result of the Defendant’s negligence, the Plaintiffs incurred costs for the calls to

       their cellular telephones, and suffered humiliation, loss of sleep, anxiety, nervousness,

       physical sickness, physical and mental suffering, pain, and anguish.

                                   COUNT FOUR
                     Reckless and Wanton Training and Supervision

36.    Plaintiffs hereby adopt all of the allegations set forth in paragraphs 6 through 35 as

       if set forth fully herein.

37.    Defendant knew or should have known of their inadequate training and supervision.

       If Defendant had properly trained and supervised their employees, agents, and assigns,

       the conduct set forth herein which was directed at and visited upon the Plaintiffs

       would not have occurred.

38.    Defendant knew or should have known that the conduct of their employees, agents,

       and/or assigns was improper and in violation of the TCPA, and South Carolina law.

                                         Page 6 of 10
      1:14-cv-03693-JMC        Date Filed 09/18/14      Entry Number 1      Page 7 of 10




39.    Defendant recklessly and wantonly failed to train and supervise their employees,

       agents, and/or assigns in order to prevent said improper conduct.

40.    As a result of the Defendant’s recklessness and wantonness, the Plaintiffs incurred

       costs for the calls to their cellular telephones, and suffered humiliation, loss of sleep,

       anxiety, nervousness, physical sickness, physical and mental suffering, pain, and

       anguish.

                                       COUNT FIVE
                                    (Invasion of Privacy)

41.    Plaintiffs hereby adopt all of the allegations set forth in paragraphs 6 through 40 as

       if set forth fully herein.

42.    South Carolina state law recognizes the Plaintiffs’ right to be free from invasions of

       privacy in such a manner as to outrage or cause serious mental suffering, shame, and

       humiliation to Plaintiffs.

43.    Defendant intentionally intruded upon the Plaintiffs’ right to privacy by continually

       harassing the Plaintiffs with telephone calls to collect an alleged debt.

44.    The telephone calls made by Defendant to Plaintiffs were so persistent and repeated

       with such frequency that they were outrageous, caused Plaintiffs serious mental

       suffering and invaded the Plaintiffs’ privacy.

45.    The conduct of the Defendant in engaging in the systematic campaign of harassment

       by repeatedly telephoning the Plaintiffs over 275 times in 7 months demonstrates

       Defendant’s blatant and shocking disregard for Plaintiffs’ rights and resulted in

                                         Page 7 of 10
      1:14-cv-03693-JMC        Date Filed 09/18/14     Entry Number 1      Page 8 of 10




       multiple invasions of privacy in such a way as would be considered highly offensive

       to a reasonable person.

46.    As a result of the intrusions and invasions into Plaintiffs’ privacy, the Plaintiffs are

       entitled to compensatory damages in an amount to be determined by a struck jury.

47.    Additionally, as all of the acts undertaken and performed by the Defendant and its

       employees and/or agents were committed with malice, intent, wantonness, and

       recklessness, the Plaintiffs are also entitled to punitive damages from the Defendant.

                                       COUNT SIX
                      (Intentional Infliction of Emotional Distress)

48.    Plaintiffs hereby adopt all of the allegations set forth in paragraphs 6 through 47 as

       if set forth fully herein.

49.    Defendant intentionally or recklessly inflicted severe emotional distress on Plaintiffs,

       or should have been substantially certain that such distress would result from its

       conduct when it committed the above-alleged conduct. Said conduct was part of a

       conscious scheme of Defendant to harass Plaintiffs into making payments on an

       alleged debt through practices are that forbidden by the TCPA and South Carolina

       law.

50.    The conduct of Defendant was extreme, outrageous, and exceeded the bounds of

       decency.

51.    The conduct of Defendant must be regarded as utterly intolerable in a civilized

       society.

                                        Page 8 of 10
      1:14-cv-03693-JMC         Date Filed 09/18/14     Entry Number 1    Page 9 of 10




52.    The actions of Defendant caused Plaintiffs to suffer severe emotional distress.

53.    The distress suffered by Plaintiffs was so severe that no reasonable person could be

       expected to endure it.

54.    As a result of Defendant’s conduct, Plaintiffs have been made to suffer severe

       emotional distress, mental anguish, severe physical pain and suffering, anxiety, and

       humiliation. Plaintiffs are entitled to actual damages for Defendant’s intentional

       infliction of emotional distress as well as punitive damages.

                       AMOUNT OF DAMAGES DEMANDED

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs demand a judgment against

Defendant for the following:

       A.     Statutory damages of $500.00 from Defendant for each and every negligent

              violation of the TCPA;

       B.     Treble statutory damages of $1,500.00 for each and every call made to the

              Plaintiffs’ cell phones by Defendant as each and every call was a knowing

              and/or willful violation of 47 U.S.C. §227 et seq.;

       C.     For compensatory and punitive damages in an amount to be determined by a

              struck jury for Defendant’s negligent training and supervision, reckless and

              wanton training and supervision, invasion of privacy, and intentional infliction

              of emotional distress;

       D.     For this matter to be heard by a jury; and


                                         Page 9 of 10
    1:14-cv-03693-JMC      Date Filed 09/18/14   Entry Number 1      Page 10 of 10




      E.    For such other and further relief as this Court deems necessary and proper.



                                       /s/ Penny Hays Cauley
                                       Penny Hays Cauley, Fed ID No 10323
                                       Attorney for Plaintiffs

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    PLAINTIFFS DEMAND A TRIAL BY STRUCK JURY ON ALL COUNTS


                                       /s/ Penny Hays Cauley
                                       Of Counsel



DEFENDANTS TO BE SERVED VIA CERTIFIED MAIL:
Capital One Bank USA, N.A.
c/o Corporation Service Company - Registered Agent
11 South 12th Street
Richmond, VA 23219




                                    Page 10 of 10
